            IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                    1:24-cv-00146-MR-WCM

ANGELITA BRIDDELL,                 )
                                   )
           Plaintiff,              )
v.                                 )                          ORDER
                                   )
THE CITY OF SHELBY and JOHN WHITE, )
                                   )
           Defendants.             )
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      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 5) filed by G. Christopher Olson. The Motion indicates

that Mr. Olson, a member in good standing of the Bar of this Court, is local

counsel for Plaintiff and that he seeks the admission of Thomas R. Kayes, who

the Motion represents as being a member in good standing of the Bar of Illinois.

It further appears that the requisite admission fee has been paid, and that

there is no opposition to the Motion.

      Accordingly, the Court GRANTS the Motion (Doc. 5) and ADMITS

Thomas R. Kayes to practice pro hac vice before the Court in this matter while

associated with local counsel.
                           Signed: June 20, 2024




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